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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE
 8   _______________________________________
                                            )
 9   UNITED STATES OF AMERICA,              )
                                            )              No. CR06-0041RSL
10                         Plaintiff,       )
                v.                          )
11                                          )              ORDER DENYING AS MOOT
     RICHARD ALLEN FABEL,                   )              DEFENDANT FABEL’S MOTION
12                                          )              FOR RETURN OF PROPERTY
                           Defendant.       )
13   _______________________________________)
14         This matter comes before the Court on “Defendant Fabel’s Motion for Return of
15   Property” (Dkt. #828). Based on the government’s July 3, 2008 response, the property
16   referenced in defendant’s motion, namely the 1987 Harley-Davidson motorcycle and the
17   “numerous other items,” has been returned. Therefore, it is hereby ordered that defendant’s
18   motion (Dkt. #828) is DENIED AS MOOT.
19
20         DATED this 14th day of July, 2008.
21
22                                            A
                                              Robert S. Lasnik
23
                                              United States District Judge
24
25
26
     ORDER DENYING AS MOOT DEFENDANT
     FABEL’S MOTION FOR RETURN OF PROPERTY
